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                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR PRESIDENT,
INC.; LAWRENCE ROBERTS; and
DAVID JOHN HENRY,


                         Plaintiffs,


     v.                                          NO. 4:20-CV-2078


KATHY BOOCKVAR, in her capacity                  JUDGE BRANN
as Secretary of the Commonwealth of
Pennsylvania; ALLEGHENY COUNTY
BOARD OF ELECTIONS; CENTRE
COUNTY BOARD OF ELECTIONS;
CHESTER COUNTY BOARD OF
ELECTIONS; DELAWARE COUNTY
BOARD OF ELECTIONS;
MONTGOMERY COUNTY BOARD OF
ELECTIONS; NORTHAMPTON
COUNTY BOARD OF ELECTIONS; and
PHILADELPHIA COUNTY BOARD OF
ELECTIONS,


                         Defendants.



                           ENTRY OF APPEARANCE


     Kindly enter our appearance as counsel for Defendant Secretary of the


Commonwealth Kathy Boockvar in the above-referenced matter.
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                                   Respectfully submitted,


                                  /s/ Daniel T. Brier
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Date: November 9, 2020
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                           CERTIFICATE OF SERVICE


        I, Daniel T. Brier, hereby certify that a true and correct copy of the foregoing

Entry of Appearance was served upon the following counsel of record who have

appeared in this action via the Court's ECF system on this 10th day of November


2020.


                                                /s/ Daniel T. Brier
                                                Daniel T. Brier
